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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             GREENVILLE DIVISION

AIMEE MADDONNA,                          ) Civil Action Number: 6:19-cv-00448-TMC
                                         )
                       Plaintiff,        )
                                         )
                vs.                      )
                                         )
UNITED STATES DEPARTMENT OF              )
HEALTH & HUMAN SERVICES;                 )
ALEX M. AZAR, II, in his official        )
capacity as Secretary of the             )
United States Department of Health       )
and Human Services;                      )
Administration For Children and Families )
Department of Health and Human Services; )
STEVEN WAGNER, in his official           )
capacity as Principal Deputy Assistant   )
Secretary for the Administration for     )
Children and Families,                   )
                                         )
                       Defendants.       )



             FEDERAL DEFENDANTS’ MEMORANDUM IN SUPPORT
                      OF THEIR MOTION TO DISMISS
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                                   NATURE OF THE CASE

       Plaintiff Aimee Maddonna’s Complaint describes a “crisis” in the South Carolina foster

care system, caused by a rapidly increasing number of children in need and a “relatively flat”

number of foster-care-home placements over the last five years. Compl. ¶¶ 102, 103, 115. Plaintiff

estimates a large, 1,500 home shortfall in foster homes in the State. Id. ¶¶ 103, 104. She also

acknowledges that Miracle Hill Ministries, an entity that recruits and helps train prospective foster

parents to help meet this large and growing need, is the “largest foster-care child-placement agency

in South Carolina.” Id. ¶ 3.

       In response to a scenario that she deems dire, however, Plaintiff proposes a

counterproductive solution: she asks this Court to force the Federal Defendants (or “HHS”) to take

action that would likely do nothing but remove a key service provider from the South Carolina

foster care system—thus exacerbating the very shortfall in foster care homes that she decries.

Plaintiff’s Complaint alleges that Miracle Hill, which recruits foster parents and thus does the very

work that is necessary to mitigate the shortfall in foster households, has a policy of working only

with prospective foster parents who share Miracle Hill’s religious beliefs. She asks the Court to

force the Federal Defendants to take enforcement action against South Carolina if Miracle Hill

will not change this policy, including by withdrawing federal funding from the State.

       But given the allegations of the Complaint, it is pure speculation that forcing Federal

Defendants to take such enforcement action would cause Miracle Hill to change its beliefs. It is

just as likely, if not more so, that Miracle Hill would refuse and would instead cease providing

services under South Carolina’s foster care program. It is to no one’s benefit, and certainly not

children in need, for the “largest foster-care child-placement agency” in South Carolina to cease

providing services to the State’s foster care population. That outcome would not solve any
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shortfall in foster home placements. To the contrary, it would only make the shortfall worse. And

it would also have little tangible benefit to Plaintiff: by her own admission, there are other foster

care agencies operating where Plaintiff lives right now that she could turn to for assistance in

volunteering with foster children. Yet Plaintiff admits she has not sought to work with any of

those other agencies.

        Fortunately, the Court need not go down that road because Plaintiff’s Complaint should

not pass the starting line. Her claims against the Federal Defendants are riddled with jurisdictional

and merits-related defects that warrant dismissal.

        First, Plaintiff lacks standing to sue the Federal Defendants. She alleges injury in her

capacity as a prospective volunteer with foster children based on Miracle Hill’s alleged refusal to

work with her as a volunteer. But that gives Plaintiff no basis to sue the Federal Defendants

because it is Miracle Hill, not the Federal Government, that caused that alleged injury by applying

its own independent criteria regarding the volunteers with which it will work. Miracle Hill is not

a party to this litigation, and it is pure speculation to suppose that granting Plaintiff the relief she

seeks against the Federal Government would actually lead Miracle Hill to begin working with

Plaintiff. Plaintiff also alleges injury in her capacity as a federal taxpayer on the ground that

Miracle Hill receives federal funds. Plaintiff appears to concede, however, that her status as a

federal taxpayer does not give her standing to sue in this case. Even if she did claim taxpayer

standing, it would not apply here because the Supreme Court has long rejected taxpayer standing

as a basis for federal jurisdiction, and the narrow exception the Court has recognized for taxpayer

standing in certain Establishment Clause cases does not apply here.

        Second, the Court lacks jurisdiction to hear Plaintiff’s claims under the Administrative

Procedure Act (“APA”) (Counts I and II). Plaintiff challenges HHS’s conditional decision not to




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enforce a portion of its grant regulations against South Carolina. That non-enforcement decision

is a classic exercise of agency discretion that is presumptively precluded from APA review.

       Third, Plaintiff’s constitutional claims against the Federal Defendants (Counts III, IV, and

V) fail to state a claim upon which relief can be granted. Plaintiff has not shown that the Federal

Defendants may be held legally responsible for Miracle Hill’s actions or for South Carolina’s

decision to license and fund Miracle Hill. As for the actual federal agency action alleged in the

Complaint, Plaintiff cannot show that HHS’s decision to provide South Carolina a conditional

exception from a portion of one of its grant regulations violates the Constitution. That exception

is not an establishment of religion (Count III), but is instead a neutral accommodation of religious

freedom that furthers key secular goals, including ensuring a robust network of service providers

in the South Carolina foster care system. It also does not violate equal protection (Count IV) or

due process (Count V); HHS’s decision to provide a conditional exception to South Carolina did

not itself deny Plaintiff equal treatment, nor was it fatally arbitrary. Plaintiff’s APA challenge to

the constitutionality of HHS’s decision (Count II) similarly fails to state a claim because it rests

on these same meritless allegations of constitutional violations.

       In sum, and for the reasons that follow, the Court should dismiss all claims against the

Federal Defendants for lack of subject matter jurisdiction pursuant to Federal Rule of Civil

Procedure 12(b)(1) and for failure to state a claim pursuant to Rule 12(b)(6).

                                STATEMENT OF THE FACTS

I.     Statutory and Regulatory Background

       Plaintiff’s claims against the Federal Defendants concern HHS’s award of grants to South

Carolina under Title IV-E of the Social Security Act, which authorizes federal funding to states

“[f]or the purpose of enabling each State to provide, in appropriate cases, foster care” programs




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for eligible children. 42 U.S.C. § 670. To be eligible for Title IV-E payments, a state must submit

a foster care plan for HHS approval containing certain features. Id. § 671(a). States with a

compliant plan receive Title IV-E funding for a portion of the state’s foster care maintenance

payments for each statutorily eligible child in foster care. Id. § 674(a)(1). A state may also receive

reimbursement for administrative expenses necessary for the provision of child placement services

and the proper and efficient administration of the Title IV-E state plan. Id. § 674(a)(3). These

expenses may include activities such as training, case management, and recruitment and licensing

of foster homes. 45 C.F.R. § 1356.60(c). States have discretion to engage third parties to provide

many of these services. Title IV-E does not contemplate or express any preference regarding

whether these third parties should or should not be faith-based.

         Title IV-E prohibits states and their subgrantees from “deny[ing] to any person the

opportunity to become an adoptive or a foster parent, on the basis of the race, color, or national

origin of the person, or of the child involved.” 42 U.S.C. § 671(a)(18)(A). The statute does not

include a prohibition on denials based on religious beliefs. Instead, HHS has promulgated a

regulation, rooted in an HHS “public policy requirement,” that no person may be “denied the

benefits of, or subjected to discrimination in the administration of HHS programs and services

based on . . . religion.” 45 C.F.R. § 75.300(c). An HHS regulation authorizes the agency to issue

“[e]xceptions on a case-by-case basis” from this and other grant regulations where not otherwise

required by law. See 45 C.F.R. § 75.102(b).

II.      HHS Grants South Carolina’s Exception Request.

         In response to a request from the State, HHS granted South Carolina an exception from




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section 75.300(c)’s religious non-discrimination provision on January 23, 2019. Ex. A at 4. 1 South

Carolina sought the exception in connection with its use of federal funds to reimburse faith-based

organizations that provide services under the State’s Title IV-E Foster Care Program (“the SC

Foster Care Program”).

       One such faith-based organization, Miracle Hill Ministries, figured prominently in HHS’s

decision to grant the exception, as it does in Plaintiff’s Complaint. Miracle Hill is a licensed child-

placing agency in South Carolina that, among other things, recruits people to serve as foster parents

in the SC Foster Care Program and assists them in obtaining foster-care licenses. Compl. ¶¶ 26,

27; 2 Ex. A at 1. In its request for an exception, South Carolina informed HHS that Miracle Hill

exclusively recruits foster parents of a particular religion, a criterion that Miracle Hill applies on

the basis of its sincere religious beliefs. Ex. A at 1–2. South Carolina also informed HHS that

Miracle Hill is a prominent provider in South Carolina, recruiting up to 15% of the foster care

families in the SC Foster Care Program. Id. Given Miracle Hill’s substantial role in assisting with

foster case placement in South Carolina, the State told HHS that it “would have difficulty

continuing to place all children in need of foster care” if Miracle Hill were to forego licensure and

funding. Id. at 2.

       HHS granted South Carolina’s requested exception as to “Miracle Hill or any other

subgrantee in the SC Foster Care Program that uses similar religious criteria in selecting among



1
  The Court may consider the attached letter from HHS to Governor McMaster without converting
this motion to one for summary judgment because the letter “was integral to and explicitly relied
on in the complaint” and there can be no serious dispute as to its authenticity. See Phillips v. LCI
Int’l, Inc., 190 F.3d 609, 618 (4th Cir. 1999); see, e.g., Compl. ¶ 93 (citing and characterizing the
letter).
2
  As they must at this stage, the Federal Defendants assume the truth of the Complaint’s factual
allegations for purposes of this motion, but not those allegations pleaded in only conclusory
fashion or that state legal conclusions. See Ashcroft v. Iqbal, 556 U.S. 662, 678–81 (2009).


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prospective foster care parents.” Ex. A at 4. HHS’s decision was based in part on its determination

that the burden imposed on the free exercise rights of Miracle Hill and similarly situated religious

entities by section 75.300(c)’s religious non-discrimination provision was not justifiable under the

Religious Freedom Restoration Act (“RFRA”). RFRA provides that the Federal Government may

not “substantially burden a person’s exercise of religion” unless it demonstrates that the burden

“is in furtherance of a compelling governmental interest” and “is the least restrictive means of

furthering” that interest. 42 U.S.C. § 2000bb-1(a), (b). HHS concluded that section 75.300(c)’s

religious non-discrimination provision imposed a substantial burden on Miracle Hill’s exercise of

religion and that refusing the State’s requested exception would fail RFRA’s test. Ex. A at 3. HHS

also based its exception decision on its determination that enforcing section 75.300(c) in a manner

that could result in Miracle Hill withdrawing from the SC Foster Care Program “would . . . cause

a significant programmatic burden . . . by impeding the placement of children into foster care.”

Ex. A at 3.

       HHS granted the exception contingent on South Carolina requiring Miracle Hill (and other

subgrantees using the exception) “to refer potential foster parents that do not adhere to the

subgrantee’s religious beliefs to other subgrantees in the SC Foster Care Program,” or to the State

itself for service. Id. at 4. Through this condition, HHS ensured that not only would the exception

accommodate Miracle Hill’s religious beliefs, but that this accommodation would not operate to

prevent prospective foster parents from having an opportunity to work with children in foster care

under the SC Foster Care Program. Notably, Plaintiff alleges that two licensed, nongovernmental

child-placing agencies in addition to Miracle Hill operate in Greenville County, where she resides.

Compl. ¶ 28. Plaintiff says that she has declined to seek opportunities to work with foster children

through those other agencies. Id. ¶ 48.




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III.      Plaintiff and Her Alleged Injuries

          Plaintiff Aimee Maddonna, a Greenville County resident, alleges that she contacted

Miracle Hill in the hope of volunteering with children in foster care after she learned about the

organization from one of its representatives through her homeschool parents’ group. Compl.

¶¶ 25, 34. Miracle Hill ultimately declined to enter into a volunteer relationship with Plaintiff

because of its religious conviction that it should work only with volunteers who share Miracle

Hill’s religious beliefs. Id. ¶¶ 38–40. Plaintiff alleges that she has standing based on this episode,

averring that she “suffered harms as alleged in this Complaint because Miracle Hill . . . denied the

Maddonnas the opportunity to foster or volunteer with foster children in the organization’s care

because the family does not share the organization’s preferred religious beliefs.” Id. ¶ 13.

          Plaintiff also alleges that she is a federal taxpayer and that she has standing on this basis as

well. Id. ¶ 14. She claims that her tax dollars are being misspent by HHS because she “object[s]

to paying . . . for publicly funded foster-care services” in a manner she deems contrary to law. Id.

Plaintiff has since conceded that she does not rely on this alleged injury for standing, at least as to

the State Defendants. Pl.’s Mem. in Opp’n to State Defs.’ MTD at 15 n.5, ECF No. 20 (“Pl.’s

Opp’n”) (“[T]he State misconstrues [Plaintiff] to be asserting taxpayer standing.”).

IV.       Plaintiff’s Claims Against the Federal Defendants and the Relief Sought

          Plaintiff’s Complaint raises five claims against the Federal Defendants. Counts I and II

raise APA claims challenging HHS’s January 23 decision to grant South Carolina a conditional

exception from section 75.300(c)’s religious non-discrimination provision. Specifically, Plaintiff

asserts that HHS’s decision is arbitrary and capricious, contrary to law, and contrary to

constitutional rights. Compl. ¶¶ 116–20.




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       Counts III through V raise broader constitutional challenges under the Establishment

Clause and the Fifth Amendment’s equal protection and substantive due process components. Id.

¶¶ 121–47. In addition to the January 23 conditional exception decision, Plaintiff relies for these

claims on the Federal Defendants’ grant of Title IV-E funds to South Carolina, which the State

subsequently uses to reimburse Miracle Hill for certain functions under the SC Foster Care

Program. See id. ¶ 45; id. ¶ 60 (“Under Title IV-E of the Social Security Act, South Carolina

obtains reimbursement for a portion of the state’s foster-care expenditures from [HHS] and uses

those federal funds to reimburse licensed child-placement agencies for the services that they

provide.”). Plaintiff characterizes the Federal Defendants as “enabling” Miracle Hill’s allegedly

discriminatory conduct by awarding grants to South Carolina and then excepting South Carolina

from section 75.300(c)’s religious non-discrimination provision. Compl. ¶¶ 45, 125.

       Plaintiff seeks two categories of equitable relief against the Federal Defendants. First, she

asks the Court to declare unlawful and set aside the January 23 conditional exception and to enjoin

the Federal Defendants from implementing or relying on the exception. Id. at 32–33 ¶¶ a, e.

Second, she seeks declaratory and injunctive relief concerning the Federal Defendants’ award of

Title IV-E grants to South Carolina, to prevent them from “expending or providing tax dollars to

faith-based foster-care child-placement agencies that use discriminatory religious criteria to

perform contracted-for government services.” Id. at 32–33 ¶¶ c, g.

                                          ARGUMENT

       Plaintiff’s Complaint against the Federal Defendants should be dismissed for lack of

subject matter jurisdiction and for failure to state a claim. As to the former ground, the Court lacks

jurisdiction to consider any of Plaintiff’s claims against the Federal Defendants because she lacks

standing to bring them. The jurisdictional defects are double for Counts I and II: those APA-based




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claims challenge an action committed to agency discretion by law, and the Court has no jurisdiction

on that basis as well. As to the merits, the Complaint fails to state a claim under the Constitution

against the Federal Defendants. Counts II through V thus should be dismissed under Rule 12(b)(6)

even if the Court has jurisdiction to consider those claims.

I.      Plaintiff Lacks Standing to Sue the Federal Defendants.

        As the party invoking federal jurisdiction, Plaintiff bears the burden of establishing the

three elements that constitute the “irreducible constitutional minimum of standing,” Lujan v. Defs.

of Wildlife, 504 U.S. 555, 560 (1992)—namely, that she has “(1) suffered an injury in fact, (2) that

is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed

by a favorable judicial decision.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (citation

omitted). Standing is necessary for Plaintiff to establish the existence of an Article III case or

controversy and, thus, to invoke the jurisdiction of the federal courts. See, e.g., Steel Co. v. Citizens

for a Better Env’t, 523 U.S. 83, 103–04 (1998). “Where, as here, a case is at the pleading stage,

the plaintiff must ‘clearly . . . allege facts demonstrating’ each element [of standing].” Spokeo,

136 S. Ct. at 1547 (alteration in original) (quoting Warth v. Seldin, 422 U.S. 490, 518 (1975)).

        Plaintiff fails to establish standing to sue the Federal Defendants.

        A.      Plaintiff Lacks Standing to Sue the Federal Defendants on the Basis of Miracle
                Hill’s Alleged Actions.

        Plaintiff alleges standing to sue on the ground that Miracle Hill “denied” her family “the

opportunity to foster or volunteer with foster children in the organization’s care.” Compl. ¶ 13.

Plaintiff lacks standing to sue the Federal Defendants for this alleged injury for two interrelated

reasons. First, Miracle Hill’s denial of the opportunity to volunteer with children in foster care is

not fairly traceable to the Federal Defendants. Miracle Hill caused the alleged injury to Plaintiff

by applying its own criteria for selecting volunteers and foster parents, not any policy of the



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Federal Defendants. Second, Plaintiff has not shown that a favorable decision against the Federal

Defendants is likely to redress her asserted injury rather than to lead Miracle Hill to cease providing

services under the SC Foster Care Program.

       1.      To establish Article III standing, Plaintiff must demonstrate both that her alleged

injury is “fairly traceable to the defendant’s allegedly unlawful conduct” and that it is “likely, as

opposed to merely speculative, that the injury will be redressed by a favorable decision.” Lujan,

504 U.S. at 561, 590 (citation omitted). Where an alleged injury “hinge[s] on the response of [a]

regulated (or regulable) third party to the government action” that is not before the court, it is

“substantially more difficult to establish” standing. Id. at 562 (citation omitted).

       Consistent with Supreme Court precedent, the Fourth Circuit has held that “where a third

party . . . makes the independent decision that causes an injury, that injury is not fairly traceable

to the government” because the third party’s decision is an “intervening cause of the injury.” Doe

v. Obama, 631 F.3d 157, 161–62 (4th Cir. 2011). For similar reasons, fatal difficulties arise in

attempting to show redressability where a non-party has caused the alleged injury because the

court is unable to issue relief compelling the non-party to refrain from taking the action causing

the injury or to take other action to redress it. See Frank Krasner Enters., Ltd. v. Montgomery

Cty., 401 F.3d 230, 236 (4th Cir. 2005). As the Fourth Circuit has explained, “[a]n injury sufficient

to meet the causation and redressability elements of the standing inquiry must result from the

actions of the [defendant], not from the actions of a third party beyond the Court’s control.” Doe

v. Va. Dep’t of State Police, 713 F.3d 745, 755 (4th Cir. 2013) (quoting Mirant Potomac River,

LLC v. EPA, 577 F.3d 223, 226 (4th Cir. 2009)).

       In line with these principles, the Fourth Circuit has repeatedly denied standing to plaintiffs

challenging government policies where the plaintiff’s alleged injury was caused by the actions of




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a third party. For example, the Fourth Circuit held in Doe v. Obama that the decision by private

parties to donate their embryos for federally funded stem cell research was not fairly traceable to

the federal government, despite the “fact that the government permit[ted]” that conduct by lifting

restrictions on federal funding of such research. 631 F.3d at 162. Similarly, in Frank Krasner, a

third-party venue refused to rent space to the plaintiff for his gun show because of a county law

prohibiting any county money from going to locations that hosted gun shows. The court held that

the plaintiff’s claim against the county failed the traceability and redressability prongs because his

injury stemmed from the venue’s refusal to rent space to him, not the county law that made it

“perhaps prohibitively” more expensive for the venue to rent space to the plaintiff. 401 F.3d at

232–33, 236. The court further held that it could not compel the venue to rent space to the plaintiff

because the venue was not a party to the suit. Id. at 236.

       The Supreme Court also rejected an assertion of standing premised on injuries caused by

the actions of third parties not before the Court in Allen v. Wright, 468 U.S. 737, 739–40 (1984),

abrogated on other grounds by Lexmark Int’l, Inc. v. Static Control Components, Inc., 134 S. Ct.

1377 (2014). In Allen, the Court held that parents of public school children lacked standing to

challenge the government’s grant of tax-exempt status to racially discriminatory private schools

because the plaintiff’s asserted injury—segregated public education—was dependent upon the

decisions of third parties not before the Court. Among other things, the Court noted that it was

speculative “whether withdrawal of [the] tax exemption from any particular school would lead the

school to change its policies.” Id. at 758. The plaintiffs lacked standing even though, like here,

they had alleged that the Government’s conduct was unconstitutional and, thus, enjoining it would

necessarily stop the allegedly unconstitutional action. See id. at 745 n.12; cf. Pl.’s Opp’n at 15




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(arguing that the injury here concerns “discrimination on the basis of religion in the provision of

state-authorized, state-funded foster-care services”). 3

        2.      Plaintiff’s Complaint suffers the same essential defect found in all of these cases:

it was the actions of a third party—here, Miracle Hill Ministries—that caused the injury Plaintiff

allegedly suffered. See Compl. ¶ 13 (“The Maddonnas suffered harms as alleged in this Complaint

because Miracle Hill Ministries, an organization that contracts with South Carolina . . ., denied the

Maddonnas the opportunity to foster or volunteer . . . .”) (emphasis added). Plaintiff cannot

establish traceability or redressability for that reason.

        Starting with traceability, Plaintiff expressly pleads that it was Miracle Hill that caused her

alleged injury and that Miracle Hill did so as a result of its own religious beliefs, not any federal

criteria or policy. See Compl. ¶ 13 (alleging that Maddonna suffered injury “because Miracle Hill”

“denied the Maddonnas the opportunity to foster or volunteer with foster children in the

organization’s care,” which Miracle Hill allegedly did “because the [Maddonnas] do[] not share

the organization’s preferred religious beliefs”); Compl. ¶ 74 (alleging Miracle Hill’s criteria for




3
  Plaintiff attempts to argue around these authorities as to traceability by relying on Sierra Club v.
U.S. Department of the Interior, 899 F.3d 260 (4th Cir. 2018). See Pl.’s Opp’n at 12–13. Plaintiff’s
reliance is misplaced. Sierra Club did not involve “independent action of some third party not
before the court,” see 899 F.3d at 284 (quoting Bennett v. Spear, 520 U.S. 154, 168–69 (1997)).
Instead, Sierra Club applied the Supreme Court’s decision in Bennett v. Spear in finding
traceability. Bennett held that an injury can be traceable to the government’s conduct if that
conduct had “determinative or coercive effect upon the action” of the person who caused the injury.
See Bennett, 520 U.S. at 169–70. Thus, in Sierra Club, the defendant government agency granted
a right of way for a pipeline, the construction of which caused environmental injury to plaintiff.
899 F.3d at 284. That injury could not have occurred without government action. Id. (stating that
the “pipeline could not have been authorized” without the government’s permission). By contrast,
Miracle Hill did not take its alleged action because of any coercive or determinative action of the
Federal Government but, rather, as a result of its own sincerely held beliefs. Cf. Doe v. Obama,
631 F.3d at 162 (decision by private parties to donate their embryos for federally funded stem cell
research was not fairly traceable to the federal government, even though “the government
permit[ted]” that conduct by lifting restrictions on federal funding of stem cell research).


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working with foster parents, which includes “be[ing] in agreement without reservation with the

doctrinal statement of Miracle Hill Ministries”). Plaintiff points to no federal policy that requires

Miracle Hill to recruit foster parent volunteers only if they share Miracle Hill’s beliefs, because no

such policy exists. Miracle Hill is thus an “intervening cause” of the injury alleged by Plaintiff,

and that injury is not fairly traceable to the Federal Defendants. Doe v. Obama, 631 F.3d at 161.

       Plaintiff seeks to escape this problem by alleging that the Federal Defendants were “aware

of” Miracle Hill’s action and “enabled” it by granting South Carolina a conditional exception from

section 75.300(c)’s religious non-discrimination provision and by continuing to fund the SC Foster

Care Program. See Compl. ¶ 45. Those allegations only confirm the lack of causal connection

between this suit and the Federal Defendants because they necessarily imply that the direct cause

of the injury at issue was not the Government, but the third party that was purportedly “enabled.”

The Fourth Circuit has rejected a claim of traceability even where the government “permit[ted]”

the third-party action that allegedly caused plaintiff’s injury by lifting restrictions on federal

funding. Doe v. Obama, 631 F.3d at 162. That the government’s decision to lift funding

restrictions may have in some remote sense enabled the third-party actions was not enough to

establish that those third-party actions were traceable to the Government. The same rule applies

here, particularly where the government did not “permit” Miracle Hill’s actions, but merely chose

not to disqualify the State from receiving Title IV-E reimbursement for allowable administrative

expenses in relation to Miracle Hill’s work.

       The disconnect between Plaintiff’s alleged injury and the Federal Defendants is even more

apparent when considering that, in the January 23 conditional exception, HHS took steps to ensure

that persons such as Plaintiff would be referred to other foster care service providers. And in

keeping with that condition, Plaintiff concedes that multiple foster care agencies operate where




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she lives. Compl. ¶ 28. Therefore, Plaintiff cannot allege that even Miracle Hill, let alone the

Federal Defendants, entirely denied her the opportunity to volunteer with children in foster care.

Plaintiff’s alleged injury is thus all the more properly attributable to Miracle Hill, not to the Federal

Defendants, because that alleged injury solely concerns Plaintiff’s ability to volunteer with Miracle

Hill, not her ability to volunteer with children in the SC Foster Care Program.

        Plaintiff’s Complaint similarly fails to establish that her asserted injury is redressable by

the relief requested against the Federal Defendants. Miracle Hill is not a party to this litigation,

and the Court accordingly cannot compel it to work with Plaintiff. The inability to work with

Miracle Hill is the core injury Plaintiff alleges, and this Court cannot require the opposite. That

alone is largely dispositive of the attempt to invoke the Court’s jurisdiction. See Frank Krasner,

401 F.3d at 236 (holding that plaintiff had not established redressability against county government

that passed law making it “perhaps prohibitively” expensive for a third-party venue to rent space

to plaintiff because the court could not “compel” the third-party venue to act).

        Even as to the relief that might be directed against the Federal Defendants, this relief would

do nothing more than raise a speculative chance of remedying Plaintiff’s alleged injury. Compl.

¶ 13. Plaintiff seeks an injunction against implementation of HHS’s January 23 conditional

exception for South Carolina, as well as an injunction against federal funding of faith-based child

placing agencies that apply religious criteria in carrying out foster care activities. But HHS cannot

force Miracle Hill to continue accepting funds from South Carolina or continue working within

the state’s foster care system. Indeed, Plaintiff repeatedly alleges that Miracle Hill’s actions were

the result of deeply held religious convictions, e.g., Compl. ¶¶ 38–40. It is thus speculative at best

that an injunction against the January 23 conditional exception, or against continued federal

funding of the SC Foster Care Program altogether, would actually lead Miracle Hill to reverse its




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position and provide Plaintiff the opportunity to volunteer with foster children. See, e.g., Simon v.

E. Ky. Welfare Rights Org., 426 U.S. 26, 43–44 (1976) (plaintiff lacked standing because even if

the government withheld favorable tax treatment from third-party hospitals that were causing the

plaintiff’s alleged injury, it was “just as plausible” that the hospitals “would elect to forgo” that

tax treatment rather than change their behavior). It is also speculative whether any equitable relief

against the Federal Defendants would cause South Carolina to cease licensing Miracle Hill as a

child-placing agency in any event, a decision over which Federal Defendants have no control. Cf.

Mirant Potomac River, 577 F.3d at 230 (petitioner failed to show traceability to sue federal agency

because the alleged injury arose from a state regulatory regime separate from federal regulations

and “each [regulatory scheme] received final approval from different sovereigns through different

processes”).

       In sum, the Federal Defendants were not the cause of Plaintiff’s alleged injury, and issuing

the equitable relief requested against them would not likely redress Plaintiff’s alleged injury.

Plaintiff lacks standing against the Federal Defendants.

       B.      Whether She is Asserting It or Not, Plaintiff Lacks Taxpayer Standing.

       Plaintiff also alleges that she has been injured in her capacity as a federal taxpayer because

of her objections to the manner in which the Federal Government is spending her tax dollars.

Compl. ¶ 14. Nonetheless, Plaintiff appears to concede in her brief opposing the State Defendants’

motions to dismiss that she does not rely on taxpayer standing in this lawsuit, at least as to the

State Defendants. Pl.’s Opp’n at 15 n.5 (“[T]he State misconstrues [Plaintiff] to be asserting

taxpayer standing.”). Even if Plaintiff intends to assert taxpayer standing against the Federal

Defendants, however, her attempt would fail; decades of Supreme Court precedent show that

Plaintiff cannot invoke this Court’s jurisdiction on the basis of her taxpayer status.




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       The long-established general rule is that status as a federal taxpayer does not confer

Article III standing to challenge actions by the Federal Government. See Frothingham v. Mellon,

decided with Massachusetts v. Mellon, 262 U.S. 447, 488 (1923).             Except for one narrow

circumstance discussed below, a plaintiff may not use his or her status as a federal taxpayer to

raise a “generally available grievance about government—claiming only harm to his and every

citizen’s interest in proper application of the Constitution and laws, and seeking relief that no more

directly and tangibly benefits him than it does the public at large.” See Lujan, 504 U.S. at 573–

74. Under this unbroken line of authority, Plaintiff cannot invoke taxpayer standing to support her

APA, equal protection, or due process claims (Counts I, II, IV, and V).

       The same is true for Plaintiff’s Establishment Clause claim (Count III). In just two cases—

Flast v. Cohen, 392 U.S. 83 (1968), and Bowen v. Kendrick, 487 U.S. 589 (1988)—the Supreme

Court has recognized a “narrow exception . . . to the general rule against taxpayer standing” for

certain Establishment Clause claims. Kendrick, 487 U.S. at 618. This exception allows taxpayers

to challenge an expenditure that allegedly violates the Establishment Clause where the expenditure

is “funded by a specific congressional appropriation . . . disbursed . . . pursuant to a direct and

unambiguous congressional mandate” under the Taxing and Spending Clause. Hein v. Freedom

From Religion Found., Inc., 551 U.S. 587, 604 (2007). 4 This exception has rarely been satisfied.

See Ansley v. Warren, 861 F.3d 512, 519 (4th Cir. 2017) (recognizing that the Supreme Court’s

“application of the doctrine has been narrowly circumscribed”).



4
  Throughout this brief, the Government cites Justice Alito’s opinion in Hein announcing the
Judgment of the Court; where “no single rationale explaining the result enjoys the assent of five
Justices,” as in Hein, “the holding of the Court may be viewed as that position taken by those
Members who concurred in the judgments on the narrowest grounds.” See Marks v. United States,
430 U.S. 188, 193 (1977) (citation omitted). The Fourth Circuit accordingly appears to treat the
Hein plurality opinion as authoritative. See Ansley, 861 F.3d 512 (repeatedly citing the Hein
plurality opinion as representing the holding of the Supreme Court).


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       Indeed, the Supreme Court has made clear that the Flast exception applies only where the

relevant statute expressly requires or contemplates expenditures to religious organizations or

activities. In Hein v. Freedom From Religion Foundation, a group of taxpayers sought to challenge

the use of “Congressional taxpayer appropriations” to pay for conferences at which the President

promoted federal grant-making to faith-based organizations. 551 U.S. at 596. The Court denied

taxpayer standing because the relevant appropriations act did not “specifically authorize the use of

federal funds to pay for the conferences or speeches that the plaintiffs challenged.” Hein, 551 U.S.

at 593 (emphasis added). There was no statute in Hein that “expressly contemplated that [federal

funds] might go to projects involving religious groups.” Id. at 607. “[T]he expenditures that

respondents challenge[d] were not expressly authorized or mandated by any specific congressional

enactment,” and thus, “respondents’ lawsuit [was] not directed at an exercise of congressional

power.” Id. at 608. Accordingly, absent a statute that expressly contemplates the specific

objectionable expenditures at issue, the Flast exception does not apply.

       Thus, even if Plaintiff is asserting taxpayer standing against the Federal Defendants, her

assertion of taxpayer standing fails because she has not identified any act of Congress that

appropriates funds specifically for faith-based organizations under the Title IV-E program. Nor is

there any act of Congress that expressly contemplates, let alone requires, the involvement of faith-

based organizations in the program. As explained above, Title IV-E only contemplates the

issuance of federal grants to state governments. The statute says nothing about whether states will,

or should, use those funds to pay faith-based organizations. Congress did not “specifically

authorize the use of federal funds” for grants to faith-based organizations under Title IV-E, and




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that fact is dispositive of any taxpayer standing claim here. See Hein, 551 U.S. at 593 (emphasis

added). 5

II.      The Court Lacks Jurisdiction to Consider Plaintiff’s APA Claims Because HHS’s
         Enforcement Decision is Committed to Agency Discretion By Law.

         The APA precludes review of agency actions that are “committed to agency discretion by

law,” 5 U.S.C. § 701(a)(2), and district courts accordingly lack jurisdiction to consider APA claims

concerning such actions. Angelex Ltd. v. United States, 723 F.3d 500, 502 (4th Cir. 2013). The

January 23 conditional exception reflects HHS’s decision not to enforce a portion of its regulation

in certain circumstances. That is a matter committed to HHS’s discretion by law and thus

precluded from review under section 701(a)(2). Accordingly, Counts I and II should be dismissed

for lack of subject matter jurisdiction.

         In Heckler v. Chaney, 470 U.S. 821 (1985), the Supreme Court held that “an agency’s

decision not to prosecute or enforce, whether through civil or criminal process, is . . . generally

committed to an agency’s absolute discretion” and is therefore “presumed immune from judicial

review under § 701(a)(2).” Id. at 831–32. As the Chaney Court explained, an agency’s decision

whether or not to enforce is similar in significant ways to a prosecutor’s decision whether or not

to indict—“a decision which has long been regarded as the special province of the Executive

Branch.” Id. at 832; see also United States v. Armstrong, 517 U.S. 456, 464 (1996) (“[T]he

decision whether or not to prosecute . . . generally rests entirely in [the prosecutor’s] discretion.”).



5
  Plaintiff concedes in her opposition brief to the State Defendants’ motions to dismiss that she
does not rely on injuries to third parties for standing. Pl.’s Opp’n at 10 n.1 (“Mrs. Maddonna does
not seek to represent, or premise her standing on, the injuries” alleged as to various third parties).
Nor could she, as her Complaint does not allege the elements necessary to assert third-party rights.
See Freilich v. Upper Chesapeake Health, Inc., 313 F.3d 205 (4th Cir. 2002) (holding that a
plaintiff seeking to overcome the general rule against asserting third-party legal rights must show
a close relationship between herself and the person whose right she seeks to assert, as well as a
hindrance to the third party’s ability to protect his or her own interests).


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       An agency’s decision not to enforce a regulation involves “a complicated balancing of a

number of factors which are peculiarly within [an agency’s] expertise.” Chaney, 470 U.S. at 831.

These factors include assessing whether any violation has occurred at all, “whether agency

resources are best spent” on any particular enforcement action, and whether such action “best fits

the agency’s overall policies.” Id. “The agency is far better equipped than the courts to deal with

the many variables involved in the proper ordering of its priorities.” Id. at 831–32.

       The Fourth Circuit has similarly explained that the “judiciary is ill-equipped to oversee

executive enforcement decisions, whereas the agency is equipped to decide where to focus scarce

resources, how to handle delicate federal-state relations and how to evaluate the strengths and

weaknesses of particular cases.” Sierra Club v. Larson, 882 F.2d 128, 133 (4th Cir. 1989); see

also id. (reasoning that the “separation of powers” underpins the “presumption of the

unreviewability of administrative agency decisions not to pursue enforcement in particular

instances”). The presumption against review of agency non-enforcement decisions applies even

where an agency “gives a ‘reviewable’ reason for otherwise unreviewable action,” such as

construing a statute in deciding that an enforcement action would not be supportable. ICC v.

Brotherhood of Locomotive Eng’rs, 482 U.S. 270, 283 (1987) (“BLE”).

       The January 23 conditional exception from HHS is the type of non-enforcement decision

that is “presumed immune” from judicial review under the APA. See Chaney, 470 U.S. at 831–

32. Plaintiff’s APA claims necessarily take issue with a non-enforcement decision—specifically,

HHS’s conditional decision not to enforce 45 C.F.R. § 75.300(c)’s religious non-discrimination

provision against South Carolina as to Miracle Hill and similarly situated faith-based subgrantees

of the State. HHS reached that decision based on a balance of factors, including the agency’s

judgment about the restrictions imposed by RFRA on the agency’s enforcement discretion and the




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“significant programmatic burden” that would attend enforcement of the regulation. See Ex. A at

3–4. Moreover, the agency’s decision was conditional on South Carolina requiring Miracle Hill

and other subgrantees invoking the exception to refer potential foster parents to other subgrantees

in the SC Foster Care Program or to the State itself, further demonstrating the discretionary

balancing of policy priorities that attended HHS’s non-enforcement decision. See id.

       Under Fourth Circuit case law, these characteristics render the January 23 conditional

exception non-reviewable under the APA. For example, in Larson, the Fourth Circuit considered

the Federal Highway Administration’s alleged failure to enforce the Highway Beautification Act’s

(“HBA’s”) provisions regarding outdoor advertising against South Carolina. 882 F.2d at 129. The

HBA required states participating in the Federal Highway Administration’s highway beautification

program to maintain “effective control” over outdoor advertising and permitted the Secretary of

Transportation to institute enforcement proceedings for failure to maintain such control, including

by withholding a portion of federal highway funds. Id. Although an agency investigation indicated

that South Carolina was not maintaining “effective control” over its outdoor advertising, the

agency “declined to take any further corrective action.” Id. at 130. The Fourth Circuit held that

this decision was an unreviewable exercise of discretion, concluding that the statute’s definition

of “effective control” “forewarn[ed] states of their obligations under the law,” but did not state “a

requirement that the Secretary follow these guidelines when deciding whether to bring an

enforcement action.” Id. at 132. Put differently, the requirement to maintain effective control did

not provide “standards which govern the threshold decision of whether to formally enforce the

statute by withholding funds from a particular state.” Id. Accordingly, the court held there was

“no law to apply” in cabining the Secretary’s enforcement discretion and thus “appellant ha[d]

failed to overcome the presumption of unreviewability.” Id.




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       Larson is on all fours here. Just like in Larson, “South Carolina already receives federal . . .

funds,” and HHS’s decision to grant an exception “was a non-coercive one declining to proceed

toward further action to withhold a portion of these funds,” a decision that “judicial review” was

not “intended” to address. Id. Plaintiff has not alleged that any statute obligates HHS to take

enforcement action for the violation of its grant regulations, nor could she. To the contrary, an

HHS regulation, 45 C.F.R. § 75.102(b), expressly gives HHS discretion to issue exceptions from

its grant regulations, including section 75.300(c). Section 75.102(b) sets forth no meaningful

standard for deciding whether an exception should be granted, but merely provides that HHS

“may” grant exceptions except where otherwise required by law, further demonstrating the lack of

constraints on the agency’s enforcement discretion here. See Chaney, 470 U.S. at 830 (section

701(a)(2) of the APA applies where there is “no meaningful standard against which to judge the

agency’s exercise of discretion”). In sum, HHS had unreviewable discretion under the APA to

weigh whether enforcement of its regulation was appropriate here. Because Plaintiff has failed to

overcome the presumption of non-reviewability under section 701(a)(2), this Court lacks

jurisdiction to review Counts I and II.

       Plaintiff may argue that the January 23 conditional exception is nonetheless reviewable

because it is partially based on HHS’s interpretation of RFRA’s application here. But in BLE, the

Supreme Court expressly rejected the proposition that “if the agency gives a ‘reviewable’ reason

for otherwise unreviewable action, the action becomes reviewable.” 482 U.S. at 283. By way of

example, the Court observed that “a common reason for failure to prosecute an alleged criminal

violation is the prosecutor’s belief (sometimes publicly stated) that the law will not sustain a

conviction.” Id. Nonetheless, “it is entirely clear that the refusal to prosecute cannot be the subject

of judicial review,” notwithstanding the fact that the prosecutor’s belief “is surely an eminently




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‘reviewable’ proposition.” Id. And of course, HHS gave other reasons for its decision as well—

including that not granting the exception “would . . . cause a significant programmatic burden . . .

by impeding the placement of children into foster care.” Ex. A at 3.

III.      Plaintiff Fails to State Constitutional Claims.

          Plaintiff raises Establishment Clause, equal protection, and substantive due process claims

against the Federal Defendants in Counts III, IV, and V. The Complaint appears to support these

claims with three sets of allegations: 1) the alleged actions of Miracle Hill and Federal Defendants’

purported failure to prevent them; 2) the State of South Carolina’s expenditure of federal grant

funds on faith-based sub-grantees, including Miracle Hill; and 3) the Federal Defendants’ issuance

of the January 23 conditional exception. None of these allegations is an adequate basis for

Plaintiff’s constitutional claims against the Federal Defendants. Plaintiff has not adequately

alleged that the Federal Defendants may be held legally responsible for Miracle Hill’s actions or

South Carolina’s licensing and funding decisions. And the January 23 conditional exception does

not violate the Constitution under any of the relevant standards. Counts III, IV, and V should,

therefore, be dismissed for failure to state a claim. The APA claim in Count II, which is founded

on the same constitutional theories, should be dismissed as well.

A.        Plaintiff Fails to State a Claim Against the Federal Government Based on Miracle
          Hill’s Actions.

          To hold the government legally responsible for the action of a private party, a plaintiff must

show that “there is a sufficiently close nexus between the State and the challenged action of the

[private party] so that the [challenged] action of the [private party] may be fairly treated as that of

the State itself.” Blum v. Yaretsky, 457 U.S. 991, 1004 (1982) (citation omitted). “The purpose of

this requirement is to assure that constitutional standards are invoked only when it can be said that

the State is responsible for the specific conduct of which the plaintiff complains.” Id. The



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government’s “[m]ere approval of or acquiescence in the initiatives of a private party” is not

sufficient to meet this standard. Id. at 1004–05. Instead, to attribute a third party’s actions to the

government, those actions must have been the product of “coercive power” by the government or

of “significant encouragement, either overt or covert,” by the government. Id. The government

will thus not be held responsible for others’ acts, even where those acts were allegedly authorized

by the government, if the acts were the result of “judgments made by private parties without

standards established by the State.” Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40, 43–44, 52–

53 (1999) (quoting Blum, 457 U.S. at 1008) (alterations omitted); see also id. (no state action in

private parties’ decisions to withhold payment for disputed medical treatments, even though

Pennsylvania’s workers’ compensation laws authorized such withholding pending an independent

review process to determine a treatment’s reasonableness).

       The Complaint falls far short of establishing state action for which the Federal Defendants

can be held responsible. Plaintiff’s claims rest on the alleged decision of a private party, Miracle

Hill, to deny her the opportunity to volunteer through that organization with children in foster care.

The Complaint does not allege that the Federal Defendants compelled or significantly encouraged

Miracle Hill’s decision. Rather, the Complaint alleges that Miracle Hill’s decision not to work

with Plaintiff was the result of Miracle Hill’s own religious beliefs. See Compl. ¶ 13. That is not

a sufficient basis to hold the Government liable. See Am. Mfrs. Ins. Co., 526 U.S. at 52.

       Indeed, the Fourth Circuit has previously affirmed dismissal of foster-care-related claims

against government defendants on state action grounds for reasons that are dispositive here. See

Milburn v. Anne Arundel Cty. Dep’t of Social Servs., 871 F.2d 474 (4th Cir. 1989). Milburn

involved claims under 42 U.S.C. § 1983 based on state government defendants’ decision to place

the plaintiff with foster parents that physically abused him. Id. at 475–76. The court concluded




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that the State could not be held responsible for the foster parents’ actions because it “did not order

or cause the action complained of,” nor did the state “encourage” those actions. Id. at 479.

Similarly, the Federal Defendants here did not order, cause, or encourage Miracle Hill’s alleged

decision not to work with Plaintiff. Milburn accordingly shows that Plaintiff cannot seek relief

against the Federal Defendants on the basis of that decision.

       Plaintiff attempts to escape the straightforward lack of state action here by alleging that the

Federal Defendants were aware of Miracle Hill’s religious beliefs and failed to impose adequate

safeguards to prevent or respond to Miracle Hill’s allegedly discriminatory actions, see Compl. ¶

45, but that is insufficient to state a claim. The Supreme Court and Fourth Circuit have long

rejected claims of state responsibility for private conduct where the government had notice of that

conduct and did not act to prohibit it. For example, in Blum, the Court held that a private nursing

home’s allegedly improper discharge or transfer of patients did not become state action even when

the state was notified of the nursing home’s conduct and adjusted the patients’ Medicaid benefits

accordingly. Blum, 457 U.S. at 1004–05. The premise of the plaintiff’s foster-care-related claims

in Milburn, which the Fourth Circuit rejected for lack of state action, was similarly that the state

had failed to exercise adequate care in preventing harms to him at the hands of his foster parents.

871 F.2d at 475–76 (summarizing plaintiff’s claim that the state “displayed gross negligence and

deliberate indifference” through his continued placement in the foster home).              Plaintiff’s

allegations here amount to no more than “[m]ere approval of or acquiescence in” a course of

conduct. That is insufficient to establish governmental liability. Blum, 457 U.S. at 1004–05.

       That Miracle Hill receives public funds to carry out services under the SC Foster Care

Program also does not render the Federal Defendants liable for Miracle Hill’s conduct. The

Supreme Court has rejected an attempt to characterize a nonprofit private school as a state actor,




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even when “nearly all of the students at the school [had] been referred to it” by various

governmental entities and “[i]n recent years, public funds [had] accounted for at least 90% and in

one year 99%, of respondent school’s operating budget.” Rendell-Baker v. Kohn, 457 U.S. 830,

832 (1982). The Court explained that the school was not “fundamentally different from many

private corporations whose business depends primarily” on government contracts. “Acts of such

private contractors do not become acts of the government by reason of their significant or even

total engagement in performing public contracts.” Id. at 840–41.

        Moreover, the fact that Miracle Hill was administering public services on behalf of children

in the State foster care system does nothing to change the high burden Plaintiff must meet to show

coercion or significant encouragement by the Federal Government. “That a private entity performs

a function which serves the public does not make its acts state action.” Id. at 842. An entity

performing functions that serve the public becomes a state actor on that basis only when carrying

out powers that are “traditionally exclusively reserved to the State” as attributes of sovereignty,

“such as eminent domain” or the administration of elections. See Jackson v. Metro. Edison Co.,

419 U.S. 345, 352–53 (1974) (citing cases). Under Fourth Circuit case law, the care of foster

children does not meet this restrictive standard. Milburn, 871 F.2d at 479 (“The care of foster

children is not traditionally the exclusive prerogative of the State.”).

        In sum, Plaintiff has failed to show that the Federal Defendants may be held legally

responsible for Miracle Hill’s alleged actions. Thus, her claims against the Federal Defendants

arising from the decisions made by Miracle Hill should be dismissed under Rule 12(b)(6).

B.      Plaintiff Fails to State a Claim Against the Federal Government Based on South
        Carolina’s Licensing and Funding Decisions.

        Plaintiff also takes issue with the alleged expenditure of federal funds on faith-based

subgrantees, specifically Miracle Hill. But that allegation also fails to state a claim against the



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Federal Defendants for similar reasons to the Miracle Hill-related allegations, namely that Plaintiff

has not alleged action for which the Federal Defendants can be held legally responsible.

       The Federal Defendants themselves do not expend federal funds on the activities of Miracle

Hill or on the activities of any other non-state entity, faith-based or not, under the SC Foster Care

Program. Instead, it is South Carolina that licenses child-placing agencies for participation in the

state’s foster care system, Compl. ¶ 20, and it is South Carolina that contracts with and distributes

money to these entities as reimbursement for applicable expenses, Compl. ¶ 60. Plaintiff’s own

Complaint recognizes that “[u]nder Title IV-E of the Social Security Act, South Carolina obtains

reimbursement for a portion of the state’s foster-care expenditures” from HHS and the State “uses

those federal funds to reimburse licensed child-placement agencies for the services that they

provide” under the State’s system. Id. (emphasis added). Plaintiff is correct—HHS has no direct

grant or contractual relationship with Miracle Hill or any other sub-grantee of South Carolina for

purposes of the Title IV-E program.

       Just as Plaintiff failed to allege that the Federal Defendants are responsible for Miracle

Hill’s actions, she has failed to show that the Federal Defendants may be held responsible for

South Carolina’s decision to license or issue funding to Miracle Hill (or any other child-placing

agency). Plaintiff has not alleged that the State’s decisions regarding licensure or funding were

the product of any coercion or encouragement by the Federal Defendants. Blum, 457 U.S. at 1004–

05. And the Federal Defendants’ mere acquiescence in those decisions through their continued

funding of grants to South Carolina cannot support a finding of federal action. See id. The Federal

Defendants thus are not the proper party against whom to test this claim.6




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  As for HHS’s award of grants to South Carolina under the Title IV-E program, there is no
plausible basis to say that that action, standing alone, raises any concern under the Establishment


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C.      Plaintiff Fails to State a Claim Based on the January 23 Conditional Exception.

        Plaintiff’s attempt to state constitutional claims based on the January 23 conditional

exception also fails to meet the standards applicable to each of the constitutional provisions she

invokes. Counts III, IV, and V should be dismissed accordingly. For the same reasons, Plaintiff’s

APA challenge to the constitutionality of HHS’s exception decision in Count II should be

dismissed for failure to state a claim.

        1.     The January 23 conditional exception does not violate the Establishment Clause.

According to the well-worn test established in Lemon v. Kurtzman, 403 U.S. 602 (1971), the

Establishment Clause requires that “government conduct (1) must be driven in part by a secular

purpose; (2) must have a primary effect that neither advances nor inhibits religion; and (3) must

not excessively entangle church and State.” Wood v. Arnold, 915 F.3d 308, 314 (4th Cir. 2019)

(quoting Moss v. Spartanburg Cty. Sch. Dist. 7, 683 F.3d 599, 608 (4th Cir. 2012)); see also

Lambeth v. Bd. of Comm’rs of Davidson Cty., NC, 407 F.3d 266, 268–69 (4th Cir. 2005) (applying

Lemon test in affirming the dismissal of an Establishment Clause claim under Rule 12(b)(6)). The

January 23 conditional exception easily meets each of these requirements.

        First, the January 23 conditional exception was driven by a secular purpose. The purpose

prong of the Lemon test “imposes a fairly low hurdle” and simply requires the government to

“show that it had a plausible secular purpose for its action” that was not “pretextual.” Wood, 915

F.3d at 315. The government’s purpose need not even have been “exclusively secular,” so long as

“advancing religion” was not the “predominant purpose” of the action. Id.; see also McCreary

Cty., Ky. v. ACLU of Ky., 545 U.S. 844, 864 (2005) (secular purpose cannot be “merely secondary




Clause or the Fifth Amendment. Nor does Plaintiff appear to assert otherwise (she does not
challenge Title IV-E itself, for example).


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to a religious objective” and “not a sham”).

       The January 23 HHS letter to Governor McMaster explains at least two secular purposes

supporting HHS’s conditional exception: first, to comply with the requirements of RFRA; and

second, to ensure the continued availability of entities to serve the welfare of children in the SC

Foster Care Program. Ex. A at 3–4. These are legitimate and plausible secular purposes and

Plaintiff has not alleged any basis to say they were pretextual. See Lambeth, 407 F.3d at 270 n.2

(affirming dismissal where complaint did not allege that concededly secular purpose was

pretextual). Moreover, Plaintiff has not made any non-conclusory allegation that the Federal

Defendants had any purpose of advancing religion at all, let alone that such a purpose was

“predominant.” Plaintiff’s conclusory allegation that Federal Defendants had a “primary purpose”

to advance religion is not sufficient under federal pleading standards to survive dismissal. See

Ashcroft, 556 U.S. at 680–81 (allegation that government officials subjected plaintiff to harsh

conditions “solely on account of [his] religion, race, and/or national origin” was “conclusory” and,

thus, “not entitled to be assumed true”). Plaintiff’s threadbare assertion of the Lemon test’s first

element will not suffice.

       Second, the January 23 conditional exception’s primary effect neither advances nor inhibits

religion. The second Lemon prong asks whether “the principal effect of government action is to

suggest” to a “reasonable, informed observer” a “government preference for a particular religious

view or for religion in general.” Wood, 915 F.3d at 316 (citation omitted). The January 23

conditional exception does not suggest to a reasonable observer a government preference for

particular religious views, especially when viewed in the full context provided by the January 23

letter communicating HHS’s exception decision. See id. at 317 (challenged government conduct

must be viewed in its full context) (citing Lambeth, 407 F.3d at 271).




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       As an initial matter, HHS’s recognition that faith-based entities may participate as

providers in the SC Foster Care Program does not advance religion; the Establishment Clause

permits religious organizations to participate as providers of secular services under government

programs. Kendrick, 487 U.S. at 609. HHS’s January 23 letter recognizes both the strict statutory

requirement of religious accommodation imposed by RFRA and the programmatic burden on

South Carolina’s foster care system that would come with losing a large provider like Miracle Hill.

With those premises considered, the letter grants an exception from the religious non-

discrimination provision of section 75.300(c) while imposing a condition that Miracle Hill and

other faith-based entities using the exception refer prospective foster parents to other agencies

when they are unable to work with them.

       This context would indicate to a reasonable, informed observer that HHS’s conditional

exception did not express a preference for any particular religious view or for religion in general.

Instead, the agency worked to ensure that no prospective foster parent will be prevented from

serving children in the SC Foster Care Program on the basis of any person’s or entity’s religious

beliefs, while also reasonably accommodating Miracle Hill’s own religious beliefs. Viewed in

full, that action neither advances nor inhibits religion; it is fundamentally neutral toward the

religious views of Plaintiff, Miracle Hill, and anyone else. Indeed, accommodations of religious

practice are a permissible, and often required, form of government action. See, e.g., Corp. of the

Presiding Bishop of the Church of Jesus Christ of Latter-Day Saints v. Amos, 483 U.S. 327, 334

(1987) (“[The Supreme Court] has long recognized that the government may (and sometimes must)

accommodate religious practices and that it may do so without violating the Establishment

Clause.”) (citation omitted).

       Third, the January 23 conditional exception does not create an excessive entanglement




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between church and state.      The final prong of the Lemon test prohibits “‘comprehensive,

discriminating, and continuing state surveillance’ of religious exercise.” Lambeth, 407 F.3d at 273

(quoting Lemon, 403 U.S. at 619).         A showing of such “comprehensive surveillance” is

“necessary” to show a violation of this aspect of Lemon. Id. (quoting Mueller v. Allen, 463 U.S.

388, 403 (1983)). The January 23 conditional exception does not require any kind of “pervasive

monitoring” or comprehensive surveillance of religious exercise. See id. To the contrary, the

conditional exception works to avoid state entanglement with religious practice by accommodating

Miracle Hill’s religious views, so long as the State ensures compliance with the religiously neutral

condition of making referrals when Miracle Hill is unable to work with a prospective foster parent.

       2.      Plaintiff also cannot state an equal protection claim on the basis of the January 23

conditional exception. An equal protection claim must be tied to a personal denial of equal

treatment and there is no plausible basis to allege that the January 23 conditional exception

personally denied Plaintiff equal treatment. The Supreme Court has held that “stigma” and “value

interests” alone are not judicially cognizable injuries when they are not tied to a personal denial of

equal protection. See Allen, 468 U.S. at 755–56 (“Our cases make clear, however, that [stigmatic]

injury accords a basis for standing only to those persons who are personally denied equal treatment

by the challenged discriminatory conduct.”) (citation omitted). Plaintiff has alleged no direct

interaction between herself and the Federal Defendants, and the January 23 conditional exception,

which HHS issued to Governor McMaster, certainly is not one. Thus, Plaintiff’s equal protection

claim related to the January 23 conditional exception must be tied to the alleged actions of Miracle

Hill, and Plaintiff cannot state a claim on that basis for the reasons described above.

       3.      Plaintiff’s substantive due process challenge to the January 23 conditional

exception also fails at the outset because Executive action violates substantive due process only




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where such action is “fatally arbitrary,” a high bar Plaintiff cannot clear. Hawkins v. Freeman,

195 F.3d 732, 738 (4th Cir. 1999) (quoting Cty. of Sacramento v. Lewis, 523 U.S. 833, 846 (1998)).

The question of fatal arbitrariness is addressed at the threshold, with courts considering “whether

the challenged conduct was ‘so egregious, so outrageous, that it may fairly be said to shock the

contemporary conscience.’” Id. (quoting Lewis, 523 U.S. at 847 n.8); see also Slaughter v. Mayor

& City Council of Balt., 682 F.3d 317, 321 (4th Cir. 2012) (stating that this standard “encompasses

only the most egregious official conduct”). Conduct that meets this test “must be ‘intended to

injure in some way unjustifiable by any government interest.’” Hawkins, 195 F.3d at 742

(emphasis and citation omitted). “If it does not meet that test, the claim fails on that account, with

no need to inquire into the nature of the asserted liberty interest.” Id. at 738.

        The January 23 conditional exception was not fatally arbitrary because it was not “intended

to injure” at all, let alone in a manner “unjustifiable by any government interest,” and it was also

not “so egregious, so outrageous, that it may be fairly said to shock the contemporary conscience.”

See id. at 738, 742. The Complaint contains no plausible allegation of invidious intent by the

Federal Defendants (nor could it), and in any event, the face of the January 23 conditional

exception demonstrates reasonableness, not outrageousness. See Ex. A. The conditional exception

protects the rights of entities like Miracle Hill to engage in the free exercise of religion, as required

by RFRA, while also taking steps to ensure that individuals who do not meet Miracle Hill’s

religious criteria will be referred to other providers. The exception also avoids the negative

programmatic consequences of a major provider of services in the SC Foster Care Program ending

its participation in that program. This is not the stuff of which fatally arbitrary government action

is made. Compare Rochin v. California, 342 U.S. 165, 172 (1952) (forcible pumping of a suspect’s

stomach “shocked the conscience” as a method “too close to the rack and the screw”); with




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Hawkins, 195 F.3d at 746 (Parole Commission’s decision to revoke parole and re-incarcerate

individual was not marked by “any element of vindictiveness or of power exercised simply to

oppress;” instead, “[t]here were legitimate governmental interests and objectives a–plenty to

justify the act”).

        Even if Plaintiff could hurdle this initial “shocks the conscience” test, her due process claim

would still fail because the appropriate standard for evaluating the January 23 conditional

exception on due process review is the rational basis test, which HHS’s action readily passes. In

the absence of infringement of a fundamental liberty interest, government action need only be

“rationally based to survive” due process review. Hawkins, 195 F.3d at 748. And rational basis

review is a “paradigm of judicial restraint . . . which prohibits [the Court] from sitting as a super-

legislature to judge the wisdom or desirability of legislative policy determinations.” Freilich, 313

F.3d at 211 (citation and alterations omitted) (stating that rational basis review accords a “strong

presumption of validity” to government action). As more fully set forth above, the January 23

conditional exception is rationally related to at least two legitimate government interests:

complying with the law, i.e. RFRA, and ensuring the availability of providers to serve children in

the SC Foster Care Program. Ex. A at 3–4. Rational basis review requires no more.

        Plaintiff nonetheless argues that a heightened standard of review should apply, pointing to

her First Amendment rights as a fundamental liberty interest. Pl.’s Opp’n at 31–32. Substantive

due process analysis is inappropriate, however, for the analysis of First Amendment-based claims:

“if a constitutional claim is covered by a specific constitutional provision, such as the Fourth or

Eighth Amendment, the claim must be analyzed under the standard appropriate to that specific

provision, not under the rubric of substantive due process.” United States v. Lanier, 520 U.S. 259,

272 n.7 (1997). Thus, Plaintiff’s First Amendment Establishment Clause claim must rise or fall




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on the standards applicable to that constitutional provision. 7

                                          CONCLUSION

       For the foregoing reasons, Federal Defendants respectfully request that the Court dismiss

the Complaint for lack of subject matter jurisdiction under Fed. R. Civ. P. 12(b)(1) and for failure

to state a claim under Fed. R. Civ. P. 12(b)(6).

Dated: April 26, 2019                          Respectfully submitted,

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 There is also no fundamental liberty interest in being considered to serve as a foster parent. Cf.
Ross v. Cecil Cty. Dep’t of Soc. Servs., 878 F. Supp. 2d 606, 619 (D. Md. 2012) (“In the Fourth
Circuit it is settled that a foster parent does not have a liberty interest protected by the Due Process
Clause in a continued relationship with a foster child because a liberty interest attaches only to a
custodial relationship.”) (citation and alterations omitted).


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